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Donna ‘Landry :
ene . TR
From: Susan Tralnor [strainor@mirta,uel

Santi Wednesday, June 01, 2014 11:95 AM

To: dlandry@mrta, us

Subject: _RE:

HI Donna | just tried to call you and most days | would not have a problem except there ere ¢ lot of days that | have
doctor appts at 4:30 so | would not be able to stay , | would sometimes have advanced notlce so! could come in at 8 but
of the days that they give next day notice or same day notice | need to know how you want to handle that..Also } need
to know what Information you came up with on the disability Issue seelng that | may use more sick time then what mart
allows and i need to Know how that will be handled as well ...thank you Susan

From: Donna a Landy [
Sent: Wednesday, June 01, 2011 11:29 AM

Tos strainor@mrta.us
Subject: RE:

Sue-

in review of your leave it appears that you generally get to work by 8:30, Therefore, after discussing thls with the
Administrator, we would be able to change your hours from B:30 to 4:30 or 9:00 to 5:00 ta accommodate your need,
This should reduce the amount of FMLA hours you would may need to use. | am tn the process of calculating your FMLA

leave and | will send you ari update asap,
Donna

From: Susan Trainor
Sent: Friday, May 27, 2011 2350 PM

To: dlandry@rnrtaus
Subjact: RE:

| have tried to reach you a few times today because | know my frrila is ending soon and my concern Is that | wont have
sick time for upcoming appts for the next 6 months, | had talked to you about a month ago regarding the new plan from
the doctors about golng thru the welght loss program and that some appts were during work hrs and also ! spoke with
Karen because the meds seem to be helping with pain but the situation about the side effacts In the morning will prob
be. permanent 50 | needed to inow If without the fmal how that was golng to effect me and | was told that after the fmia
there wasn’t much she could do...So my understanding of this would be If irn tardy | will be let go...IFlm wrong please let
me know,../ am hoping that mart will reconsider thelr decision and work with me...agaln | would prefer NOT to g0 part
time and 1am hoping that If! come In late t can make up my time at the end of the day or ifim unable to do so berause
of doc appts that | can take the loss of pay without It leading to termlnation..We are talking about a time frame of 5 mins
to 45 mins and Imalso not sure if im covered by thls under the disability act after fmila or not.

From: Donna Landry
Sent: Friday, May 27, 2011 i 53 PM

To: stralnor@rnrta.us
Subject:

Sus-
jhad e brief discussion with Karen today relative ta some questlons about possibly reducing your work hours due to a

disability, Can you provide me In writing exactly what you are looking for?
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Thanks.
Donna

Donna Landry .
Director of Operatlons/HR
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